                          Case 2:22-cv-00514-DBB Document 1 Filed 08/12/22 PageID.1 Page 1 of 2
JS 44 ( Rev. I 0/20)                                                                 CIVIL COVER SHEET
The JS 4 4 civil cover sheet and the information cont ained herein neither replace nor supplement the filin g and se rvice o f pleadin gs or othe r papers as required by law, except as
provided by local ru les o f court. Thi s fo nn, approved by the Judic ial Co nference of the United States in September 197 4 , is required fo r the use of the Clerk of Court fo r the
purpose of initiating the civi l docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                           DEFENDANTS
            Breeze Aviation Group, Inc.                                                                                      National Mediation Board

    (b)    Count y of Residence of First Listed Plaintiff .,S
                                                            =a=l~t~L=a=k~e"'-------                                         County of Res idence of First Listed Defendant     Washjnqton                             DC
                              (EXCEP T IN U.S. PLAINTI FF CASES)                                                                                    (IN U. S. PLA INTIFF CASES ONLY)
                                                                                                                            NOT E:       IN LAN D COND EMN ATION CAS ES, USE THE LOCATI ON O F
                                                                                                                                         THE TRA CT OF LAN D INVO LVE D .

    {C)    Attorneys (Firm Name, Addres.\·, and Telephone Number)                                                            Attorneys (If K11ow11)

            Jonathan 0. Hafen , Cheylynn Hayman
            Parr Brown Gee & Loveless, 101 S. 200 E, Ste. 700
II. BASIS OF JURISDICTION (Place an                                  "-X " in One Box 0 11/1,J           Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place a11                                                '-X" i11 One Box fo r Pla i111iff
                                                                                                                        (For Diversity Cases On/) ~                                          and One Box/or Defendant)
        U.S. Government                           Fede ra l Ques ti on                                                                            PTF             DEF                                               PTF        DEF
            Plaintiff                               (U.S. Govemm e111 No t a Pany)                               Citi zen o f Th is S tale      ·.· I  J         •         Incorpo rated or Principal Place            D4        04
                                                                                                                                                                             o f Business In This S tate

D2      U.S. Gove rnment                  D4      Di versity                                                     Citi zen o f Another S tate         D2 D             2    Inco rpo rat ed and Princ ipal Pl ace
                                                                                                                                                                                                                       •
            Dcfem.lant                              (lndicale Cilizenshiµ of Pa rties in Item Ill)                                                                           o f Business In A not her State

                                                                                                                 C iti ze n or Subject o f a         0     3     0    3    Fo re ig n Nati o n
                                                                                                                    Foreign Coun try
IV . NATURE OF SUIT (P/aceo11                        "X" i11 On e Box 0 11/r)                                                                              Click here for: N ature of Suit Code Desc ri tions.
            CONTRACT                                                        TORTS                                   FORFEITURE/PENALTY                               BANKRUPTCY                            OTHER STATUTES




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    I IO Insurance                          PERSONAL I NJURY                     PERSONAL I NJURY                   625 Drug Re lated Seizure                    42 2 Appeal 28 US C 158                 375 False Claims Act
    120 Marine                              3 10 Airpl ane                    O 365 Pe rsonal Inju ry -                 o f Property 2 1 USC 88 1                4 23 Withdrawa l                        376 Qui Tam (3 1 USC
    130 M iller Ac t                        3 15 A irpl ane Prod uct                  Product Li ability            690 Other                                         28  use 157                             3729(a))
    140 Negotiab le Ins trument                  Liabili ty                   O 367 Healt h Care/                                                                                                        400 S tate Reapp orti onm en t
0   I 50 Recovery of Overpay ment           320 Assault , Li bel &                   Pharmace uti cal                                                           PROPERTY RIGHTS                          4 10 Antitru st
         & En fo rce ment of Judg ment           Sland er                            Pe rso nal Inj u ry                                                         820 Copyri ghts                         430 Bank s and Ba nkin g
0   15 1 Medic are Ac t                     330 Fede ral Empl oye rs'                Product Liabi lity                                                          830 Patent                              450 Co mmerce
0   152 Recovery of Defa ult ed                  Li abilit y                  O 368 Asbestos Perso na l                                                          83 5 Patent - Abbrev ia ted             460 Depo rt ati on
          S tude nt Loan s                  340 Ma rine                               Injury Product                                                                  New Drug A pplica tion             470 Rac keteer Innuenced and

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          (Exc lud es Veteran s)
    153 Recovery of Overpay ment
                                            345 Marin e Pro duct
                                                 Liabili ty
                                                                                      Liabili ty
                                                                               PERSONAL PROPERTY                               LABOR
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         o f Veteran 's Bene fits           350 Mo tor Ve hi cle              O 370 Oth er Fra ud                   7 10 Fa ir Labor Standard s                       Ac t o f 201 6                          ( 15 US C 168 1 or 1692)
0   160 S to ckho ld ers Suits              355 Mo to r Ve hicl e             O 37 1 Truth in Lendin g                   Ac t                                                                            485 Telephone Consu mer
0   I 90 Other Contract                         Product Li abilit y           O 380 Other Pe rso nal                720 Labor/M anagement                        SOCIAL SECURITY                               Protecti o n Act
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    195 Co ntra ct Prod uct Liabi li ty     360 Ot he r Personal                     Property Damage                     Relati ons                              86 I HIA ( 13 95 ft)                    490 Ca ble/Sat T V
0   196 Franchi se                              Inju ry                       O 385 Property Damage                 740 Rail way Labor Act                       862 Black Lung (923)                    850 Sec uriti es/Co mm oditie s/
                                            362 Perso nal Injury -                   Product Liab ility             7 51 Famil y and Medical                     863 DIWC/ DIWW (405(g))                       Exchange
                                                M edi cal Malpractice                                                    Lea ve Ac t                             864 SS ID Title XVI                     890 Other Statut o ry Ac tio ns
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    2 10 Land Co nde mnati on
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                                   440 Other C ivil Ri ghts
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                                                                                           N_S--11= 790 O th er Labo r Liti ga tion
                                                                                                    79 1 Employee Retirement
                                                                                                                                                           •     865 RSI (405 (g))                       89 1 Agri cultural Acts
                                                                                                                                                                                                         893 Environmental Matters
0   220 Foreclosure                441 Votin g                     463 Alien Detainee                    In co me Sec urity Act                                 FEDERAL TAX SUITS                        895 Freedom o f ln fo nn ati o n
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0
    23 0 Rent Lease & Ejec lment
    240 Torts lo Land
    245 T ort Prod uct Liabili ty
    290 A ll Other Real Property
                                   44 2 Emplo yment
                                   4 43 Ho us in g/
                                          Acco mmodati ons
                                   44 5 Ame r. w/ Disabilit ies -
                                                                   5 10 Motions lo Vacate
                                                                        Senten ce
                                                                   53 0 General
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                                                                                                                                                                 870 Ta xes (U .S. Plaintiff
                                                                                                                                                                     o r De fendant )
                                                                                                                                                                 871 IRS-Third Party
                                                                                                                                                                      26 USC 7609
                                                                                                                                                                                                     x
                                                                                                                                                                                                               Ac t
                                                                                                                                                                                                         896 Arbitrati o n
                                                                                                                                                                                                         899 Adm ini strati ve Procedure
                                                                                                                                                                                                              Act/Rev iew or Appeal of
                                          Employment               Ot h er:                         462 Naturalizati on Application                                                                           Agency Dec ision
                                   446 Am er. w/ Disabiliti es -   540 M and amus & Other           465 O ther Immi grati on                                                                             950 Constituti onalit y o f
                                          Othe r                   550 Civil Ri g hts                    Actions                                                                                              Stale Stat utes
                                   448 Education                   555 Pri so n Condition
                                                                   560 Civil Detain ee -
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN (Place a11             "X" i11 On e Box 0 11/y)
01      Ori ginal
        Proceeding
                            0 2 Removed from
                                   State Court
                                                                 0     3     Remanded from
                                                                             Appel late Court
                                                                                                         •   4
                                                                                                                 Reinstated or
                                                                                                                 Reopened
                                                                                                                                      o sTransferred from
                                                                                                                                         Another Di strict
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                                                                                                                                                                                                              o s Multidi strict
                                                                                                                                                                                                                  Litigation -
                                                                                                                                                (sp ecify)                          Transfer                          Direct Fi le
                                              Cite the U.S. Civil Statute under which you are filing (Do ,wr cirej11ri.1·,ficrio11a/ ,1·tar11res 1111/ess dii•ersiry) :
VI. CAUSE OF ACTION                           28 U.S.C. Sec . 1331 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             i=-=..:.;..:c.:.:.;,_;,_;_:_;.
                                              Bri ef descripti on o f cause:
                                              Review of NMB decision regarding 45 U .S .C . Sec. 151 et seq .
VII. REQUESTED IN                            0      C H EC K IF THIS IS A CLASS ACTION                               DEMAND$                                            C HECK YES only if demanded in compl aint:
     COMPLAINT:                                     UN DER RULE 23, F.R.Cv.P.                                                                                           JURY DEMAND :                     O Yes         G) N o
VIII. RELATED CASE(S)
                                                  (See i11:ar11c1io11s) :
      IF ANY
                                                                                                                                                                     Case: 2:22−cv−00514
 DATE
                                                                                                                                                                     Assigned To : Barlow, David
 8/12/22
                                                                                                                                                                     Assign. Date : 8/12/2022
 FOR OFF ICE USE ONLY
                                                                                                                                                                     Description: Breeze Aviation Group v
                                                                                                                                                                     National Mediation Board
    RECE IPT #                       AMOUN T                                           A PPL YI NG IFP                                         JUDGE                         MAG. JU DGE
                      Case 2:22-cv-00514-DBB Document 1 Filed 08/12/22 PageID.2 Page 2 of 2
JS 44 Reverse (Rev. I 0/20)


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rnles of court. This fonn, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations, If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil ease filed, except U.S. plaintiff eases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation eases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

n.       Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box,
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box l or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U,S,C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be cheeked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases,)

III.      Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
          section for each principal party.

IV.       Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the ease, pick the nature of suit code
          that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.        Origin. Place an "X" in one of the seven boxes.
          Original Proceedings. (1) Cases which originate in the United States district courts.
          Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
          Remanded from Appellate Court. (3) Cheek this box for eases remanded to the district court for further action. Use the date of remand as the filing
          date.
          Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
          Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
          multidistrict litigation transfers.
          Multidistrict Litigation -Transfer. (6) Check this box when a multidistrict ease is transferred into the district under authority of Title 28 U.S.C.
          Section 1407.
          Multidistrict Litigation - Direct File. (8) Cheek this box when a multidistriet ease is filed in the same district as the Master MDL docket.
          PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
          changes in statue.

VI.       Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
          statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.      Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
          Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
          Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending eases, if any. If there are related pending eases, insert the docket
      m1mbers and the corresponding judge names for such cases,

Date and Attorney Signature. Date and sign the civil cover sheet.
